                            Case 16-12373-BLS              Doc 931        Filed 03/22/17       Page 1 of 2




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                      )
          In re:                                                      )      Chapter 11
                                                                      )
          BPS US Holdings Inc., et al., 1                             )      Case No. 16-12373 (KJC)
                                                                      )
                                      Debtors.                        )     (Jointly Administered)
                                                                      )
                                                                      )
                                                                            Re: Docket No. 862       q~9
        ----------------)                                                                      ../

                     ORDER PURSUANT SECTION 1121(d) OF THE BANKRUPTCY CODE
                       EXTENDING THE EXCLUSIVE PERIODS FOR THE FILING OF
                  A CHAPTER 11 PLAN AND SOLICITATION OF ACCEPTANCES THEREOF

                             Upon consideration of the Motion2 of BPS US Holdings Inc. and its above-

         captioned affiliated debtors and debtors in possession (each, a "Debtor," and collectively, the

         "Debtors"), for entry of an order extending the Exclusive Periods for the filing of a chapter 11

         plan and solicitation of acceptances thereto, all as more fully described in the Motion; and upon

         consideration of the Motion; and due and proper notice of the Motion having been given; and it

         appearing that no other or further notice of the Motion is required; and it appearing that the Court

         has jurisdiction to consider the Motion in accordance with 28 U.S.C. §§ 157 and 1334 and the

         Amended Standing Order; and it appearing that this is              acore proceeding pursuant to 28 U.S.C.
         § l 57(b )(2); and it appearing that venue of this proceeding and the Motion is proper pursuant to

         28 U.S.C. §§ 1408 and 1409; and it appearing that the reliefrequested in the Motion and

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           The Debtors in these chapter I I cases, along with the last four digits of each Debtor's federal tax identification
         number or Canadian equivalent, are as follows: BPS US Holdings Inc. (834 I); Bauer Hockey, Inc. (3094); Easton
         Baseball I Softball Inc. (5670); Bauer Hockey Retail Inc. (6663); Bauer Performance Sports Uniforms Inc. (1095);
         Performance Lacrosse Group Inc. (4200); BPS Diamond Sports Inc. (5909); PSG Innovation Inc. (9408);
         Performance Sports Group Ltd. (1514); KBAU Holdings Canada, Inc. (5751); Bauer Hockey Retail Corp. (1899);
         Easton Baseball I Softball Corp. (4068); PSG Innovation Corp. (2 I 65); Bauer Hockey Corp. (4465); BPS Canada
         Intermediate Corp. (4633); BPS Diamond Sports Corp. (8049); Bauer Performance Sports Uniforms Corp. (2203);
         and Performance Lacrosse Group Corp. (1249). The Debtors' headquarters are located at IOO Domain Dr., Exeter,
         New Hampshire 03833.
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              Capitalized terms used, but not otherwise defined herein, have the meaning given to them in the Motion.
01:21534973.5
                         Case 16-12373-BLS          Doc 931       Filed 03/22/17    Page 2 of 2




          provided for herein is in the best interest of the Debtors, their estates and creditors; and after due

          deliberation and sufficient cause appearing therefor,

                         IT IS HEREBY ORDERED THAT:

                         1.      The Motion is GRANTED, as set forth herein.

                         2.      The Plan Period for each Debtor is extended through and including May

          29, 2017, pursuant to section 112l(d) of the Bankruptcy Code.

                         3.      The Solicitation Period for each Debtor is extended through and including

          July 27, 2017 pursuant to section 1121(d) of the Bankruptcy Code.

                         4.      The relief granted herein shall not prejudice the Debtors from seeking

          further extensions made pursuant to section 1121 (d) of the Bankruptcy Code.

                         5.      This Court shall retain jurisdiction to hear and determine all matters

          arising from or related to the implementation, interpretation and/or enforcement of this Order.


          Dated:   HAt..c H ZZ.      , 2017
                   Wilmington, Delaware
                                                        Kevin J. Car y
                                                        United State Bankrup




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